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   JIMERSON on behalf of himself and others
10
   similarly situated
11

12                         UNITED STATES DISTRICT COURT
13       SOUTHERN DISTRICT OF CALIFORNIA, SAN DIEGO DIVISION
14
     RASHAD JIMERSON, on behalf of          CASE NO. 3:24-CV-01150-BAS-VET
15                                          HON. JUDGE: CYNTHIA BASHANT
     himself and all others similarly
16   situated,                              SECOND AMENDED CLASS ACTION
                                            COMPLAINT FOR:
17
                            Plaintiff,      1. Failure to Pay Overtime Wages in
18                                             Violation of Labor Code sections 510
                      v.                       and 1198;
19
                                            2. Failure to pay all Wages and
20   SUN Technical Services, Inc., dba         Minimum Wages in Violation of
                                               Labor Code sections 221, 223, 1182,
21   BHI Energy | Staffing Solutions, a        1194, 1197, and 1198;
     California Corporation; Southern       3. Failure to Timely Pay Wages During
22   California Edison Company, Inc., A        Employment in Violation of Labor
     California Corporation; and DOES 1        Code Sections 204, 210; and
23
     through 10, inclusive,                 4. Failure to Reimburse Business
24                                             Expenses in Violation of Labor Code
                                               section 2802
25                          Defendants.

26                                          DEMAND FOR JURY TRIAL
27

28


                           SECOND AMENDED CLASS ACTION COMPLAINT
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 1         Plaintiff, RASHAD JIMERSON (hereinafter “Plaintiff”) hereby submits his
 2   Second Amended Class Action Complaint against Defendants SUN Technical
 3   Services, LLC, dba BHI Energy | Staffing Solutions, a California Limited Liability
 4   Company (erroneously listed as a corporation); Southern California Edison
 5   Company, Inc., a California Corporation, and DOES 1 through 10, inclusive,
 6   (hereinafter referred to as “Defendants”) on behalf of himself and the class of all
 7   other similarly situated current and former employees of Defendants as follows:
 8                                 NATURE OF THE CASE
 9          1.     This is a class action arising out of Defendants’ failure to provide their
10   non-exempt employees with all wages, meal and rest periods, and business expenses
11   reimbursement in compliance with the applicable wage order and/or the California
12   Labor Code.
13          2.     SUN Technical Services, LLC provides services and staffing solutions
14   to the industrial, oil & gas, and power generation markets, and does business
15   throughout California. San Onofre Nuclear Generating Station (SONGS) is a nuclear
16   power plant owned by Southern California Edison, a California corporation
17   headquartered in Rosemead, California.
18          3.     At all relevant times, Defendants used and maintained uniform,
19   standardized scheduling and timekeeping practices and procedures for all non-
20   exempt, hourly paid employees in California, including Plaintiff and others similarly
21   situated, regardless of their location or position.
22          4.     Defendants have maintained practices across its locations which have
23   failed and continue to fail to pay Plaintiff and other non-exempt employees all wages.
24   Specifically, Defendants have a company-wide policy of rounding all hours worked
25   to the detriment of employees. Further, Plaintiff and other non-exempt employees do
26   not clock-in or clock-out for shifts and as a result, are not paid for all hours actually
27   worked.
28          5.     Moreover, Plaintiff and other employees work a 4/10 alternative
                                                  1
                            SECOND AMENDED CLASS ACTION COMPLAINT
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 1   workweek schedule but are sometimes expected to work 6 days a week. Plaintiff and
 2   other non-exempt employees are not paid all wages.
 3          6.    Defendants also failed to reimburse Plaintiff and other non-exempt
 4   employees for business related expenses, including but not limited to cellphone
 5   expenses.
 6          7.    Further, employees do not clock in or out for meal breaks, resulting in
 7   Defendants’ failure to maintain accurate records.
 8          8.    In light of the foregoing, Defendants failed to timely pay all wages
 9   during employment. Further, Defendants also failed to pay Plaintiff and other non-
10   exempt employees any wages during the month of February 2024.
11          9.    Plaintiff brings Causes of Action One through Four (the “class claims”)
12   as a class action on behalf of himself and other similarly situated individuals who
13   have worked for Defendants in California, at any time from three-years prior to the
14   filing of this complaint, through the resolution of this action. Plaintiff, on his own
15   behalf and on behalf of all Class Members, brings the class claims pursuant to Labor
16   Code sections 204, 210, 221, 223, 246, 500, 510, 1174, 1194, 1194.2, 1197, 1198,
17   2802, and the applicable wage order.
18          10.   Plaintiff is informed and believes, and based thereon alleges, that
19   Defendants have engaged in, among other things a system of willful violations of the
20   Labor Code and the applicable IWC wage orders by creating and maintaining
21   policies, practices and customs that knowingly deny employees the above stated
22   rights and benefits.
23                                          PARTIES
24          11.   Plaintiff, Rashad Jimerson is an individual over the age of eighteen (18)
25   and is now, and/or at all relevant times mentioned in this Complaint was, a resident
26   and domiciliary of the State of California. During the relevant time period, Plaintiff
27   has worked for Defendants in Pendleton, California since approximately August
28   2023. Plaintiff works as a radiation protection tech and earns $47.50 per hour.
                                               2
                            SECOND AMENDED CLASS ACTION COMPLAINT
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 1         12.     SUN Technical Services, LLC, doing business as BHI Energy | Staffing
 2   Solutions, is a provider of technical staffing solutions to the power generation
 3   industry since 1981. Sun Technical Services employs Plaintiff and other non-exempt
 4   employees. Southern California Edison is a California corporation headquartered in
 5   Rosemead, California that owns San Onofre Nuclear Generating Station (SONGS), a
 6   now-shutdown nuclear power plant located in San Clemente, California.
 7         13.     Plaintiff is informed and believes, and based thereon alleges, that at all
 8   times relevant hereto, Defendants Sun Technical Services and Southern California
 9   Edison have transacted, and continues to transact, business throughout the State of
10   California.
11         14.     Plaintiff is informed and believes, and based upon such information and
12   belief alleges, that Defendant are, now and/or at all times mentioned in this
13   Complaint was in some manner legally responsible for the events, happenings and
14   circumstances alleged in this Complaint.
15         15.     Plaintiff is further informed and believes, and based upon such
16   information and belief alleges, that at all times herein mentioned, Defendant
17   proximately caused Plaintiff, all others similarly situated, and the general public to
18   be subjected to the unlawful practices, wrongs, complaints, injuries and/or damages
19   alleged in this Complaint.
20         16.     Plaintiff is informed and believes, and based thereon alleges, that at all
21   times herein mentioned Defendant and DOES 1 through 10, are and were
22   corporations, business entities, individuals, and partnerships, licensed to do business
23   and actually doing business in the State of California.
24         17.     Plaintiff does not know the true names or capacities, whether individual,
25   partner or corporate, of the Defendants sued herein as DOES 1 through 10, inclusive,
26   and for that reason, said Defendants are sued under such fictitious names, and
27   Plaintiff prays for leave to amend this complaint when the true names and capacities
28   are known. Plaintiff is informed and believes, and based thereon alleges, that each of
                                                3
                           SECOND AMENDED CLASS ACTION COMPLAINT
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 1   said fictitious Defendants were responsible in some way for the matters alleged
 2   herein and proximately caused Plaintiff and members of the general public and class
 3   to be subject to the illegal employment practices, wrongs and injuries complained of
 4   herein.
 5         18.     At all times herein mentioned, each of said Defendants participated in
 6   the doing of the acts hereinafter alleged to have been done by the named Defendants;
 7   and furthermore, the Defendants, and each of them, were the agents, servants and
 8   employees of each of the other Defendants, as well as the agents of all Defendants,
 9   and at all times herein mentioned, were acting within the course and scope of said
10   agency and employment.
11         19.     Plaintiff is informed and believes, and based thereon alleges, that at all
12   times material hereto, each of the Defendants named herein were the agent,
13   employee, alter ego and/or joint venturer of, or working in concert with each of the
14   other co-Defendants and were acting within the course and scope of such agency,
15   employment, joint venture, or concerted activity. To the extent said acts, conduct,
16   and omissions were perpetrated by certain Defendants, each of the remaining
17   Defendants confirmed and ratified said acts, conduct, and omissions of the acting
18   Defendants.
19         20.     At all times herein mentioned, Defendants, and each of them, were
20   members of, and engaged in, a joint venture, partnership and common enterprise, and
21   acting within the course and scope of, and in pursuance of, said joint venture,
22   partnership and common enterprise.
23         21.     At all times herein mentioned, the acts and omissions of various
24   Defendants, and each of them, concurred and contributed to the various acts and
25   omissions of each and all of the other Defendants in proximately causing the injuries
26   and damages as herein alleged. At all times herein mentioned, Defendants, and each
27   of them, ratified each and every act or omission complained of herein. At all times
28   herein mentioned, the Defendants, and each of them, aided and abetted the acts and
                                                4
                           SECOND AMENDED CLASS ACTION COMPLAINT
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 1   omissions of each and all of the other Defendants in proximately causing the
 2   damages as herein alleged.
 3          22.    The members of the Class (as defined below), including the
 4   representative Plaintiff named herein, have been employed during the Class Period in
 5   California. The practices and policies which are complained of by way of this
 6   Complaint are enforced throughout the State of California.
 7                            JURISDICTION AND VENUE
 8          23.    The Court has jurisdiction over this class action pursuant to article 6,
 9   section 10 of the California Constitution and Code of Civil Procedure section 410.10.
10          24.    Additionally, this Court has jurisdiction over Plaintiff’s and the Class’s
11   claims pursuant to the applicable provisions.
12          25.    The Court has jurisdiction over Defendants because they are authorized to
13   do business in the State of California and are registered with the California Secretary of
14   State. Defendants do sufficient business with sufficient minimum contacts in California,
15   and/or otherwise intentionally avails itself of the California market through the
16   advertising, marketing and sale of goods and services, to render the exercise of
17   jurisdiction over Defendants by the California court consistent with traditional notions
18   of fair play and substantial justice.
19          26.    Venue is proper in San Diego County because the acts which give rise to
20   this litigation occurred in this county and because Defendants have employed class
21   members in this county and transacts business in this county.
22                                 FACTUAL ALLEGATIONS
23          27.    Plaintiff incorporates all preceding paragraphs as though fully set forth
24   herein.
25   Defendants’ Failure to Pay Overtime Wages
26          28.    During the Class Period, upon information and belief, Defendants had, and
27   continues to have, a company-wide policy of failing to pay Plaintiff and members of the
28   class any overtime wages as described above. Because Plaintiff and members of the
                                                 5
                             SECOND AMENDED CLASS ACTION COMPLAINT
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 1   Class worked shifts of eight (8) hours a day or more or forty (40) hours a week or more,
 2   which can be seen on Plaintiff’s and members of the class’s time entry records, they
 3   were entitled to overtime wages. However, Defendants failed to pay for all hours
 4   worked as a result of rounding.
 5         29.    Therefore, Plaintiff and members of the Class were not paid overtime
 6   wages for all of the overtime hours they actually worked.
 7   Defendants’ Failure to Pay all Wages and Minimum Wages
 8         30.    As stated above, during the relevant time period, as a result of Defendants’
 9   policy of limiting the amount of overtime employees could accrue, and because
10   Defendants rounded hours worked, Plaintiff and members of the class were not paid all
11   wages.
12         31.    Thus, Defendants did not pay at least minimum wages for all hours
13   worked by Plaintiff and class members. To the extent that the off-the-clock hours did
14   not qualify for overtime premium payment, Defendants did not pay at least minimum
15   wages for those hours worked off-the-clock.
16   Defendants’ Failure to Timely Pay all Wages During Employment
17         32.    Labor Code section 204 requires that all wages earned by any person in
18   any employment between the 1st and the 15th days, inclusive, of any calendar
19   month, other than those wages due upon termination of an employee, are due and
20   payable between the 16th and the 26th day of the month during which the labor was
21   performed, and that all wages earned by any person in any employment between the
22   16th and the last day, inclusive, of any calendar month, other than those wages due
23   upon termination of an employee, are due and payable between the 1st and the 10th
24   day of the following month.
25         33.    Labor Code section 204 also requires that all wages earned for labor in
26   excess of the normal work period shall be paid no later than the payday for the next
27   regular payroll period. Alternatively, Labor Code section 204 provides that the
28   requirements of this section are deemed satisfied by the payment of wages for
                                                6
                           SECOND AMENDED CLASS ACTION COMPLAINT
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 1   weekly, biweekly, or semimonthly payroll if the wages are paid not more than seven
 2   (7) calendar days following the close of the payroll period.
 3         34.    During the class period, Defendants willfully failed to pay Plaintiff and
 4   members of the Class all wages due including, but not limited to, minimum wages,
 5   and/or meal and rest period premiums, within the time periods specified by Labor
 6   Code section 204. Moreover, Defendants failed to pay Plaintiff and other non-
 7   exempt employees any wages during the month of February 2024.
 8   Defendants’ Failure to Reimburse Business Expenses
 9         35.    During the class period, Defendants had a company-wide policy
10   whereby management would require Plaintiff and members of the class to utilize
11   their personal cellphones to complete work-related tasks.
12         36.    Although Defendants required Plaintiff and members of the Class to use
13   their personal cellphones to complete their work-related duties, Defendants failed to
14   reimburse them for this cost. Defendants could have reimbursed Plaintiff and
15   members of the class by providing cellphone allowances. Instead, Defendants passed
16   these operating costs off onto Plaintiff and members of the Class.
17   Facts Regarding Willfulness
18         37.    Plaintiff is informed and believes, and based thereon alleges, that
19   Defendants are and were advised by skilled lawyers, other professionals, employees
20   with human resources background and advisors with knowledge of the requirements
21   of California wage and hour laws and that at all relevant times, Defendants knew or
22   should have known, that the Plaintiff Class Members, including Plaintiff, were
23   entitled to receive one hour of pay at the employee’s regular rate of compensation for
24   each day that a meal and/or rest period was not provided and were and are entitled to
25   receive pay for all hours worked, accurate itemized wage statements, and pay in a
26   timely manner.
27                        CLASS ACTION ALLEGATIONS
28         38.    Plaintiff incorporates all preceding paragraphs as though fully set forth
                                                7
                          SECOND AMENDED CLASS ACTION COMPLAINT
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 1   herein.
 2         39.      Pursuant to Code of Civil Procedure section 382, this action is brought
 3   and may be properly maintained as a class action. This action satisfies the
 4   ascertainability, numerosity, commonality, typicality, adequacy, predominance, and
 5   superiority requirements of those provisions.
 6         40.      Plaintiff brings this suit as a class action on behalf of individuals
 7   defined as follows:
 8         41.      Plaintiff Class: All persons who have been, or currently are, employed
 9   by Defendants and who held, or hold, job positions which Defendants have classified
10   as “non-exempt” employees in the State of California, at any time since three years
11   prior to filing this action, through the date judgment is rendered in this action.
12         42.      Numerosity: Plaintiff is informed and believes, and on that basis alleges,
13   that during the class period hundreds of class members have been employed by
14   Defendants as non-exempt employees in the State of California. Because so many
15   persons have been employed by Defendants in this capacity, the members of the
16   Plaintiff Class are so numerous that joinder of all members is impossible and/or
17   impracticable.
18         43.      Common Questions of Law and/or Fact: Common questions of law and
19   fact exist as to all members of the Plaintiff Class and predominate over any questions
20   affecting solely individual members of the Plaintiff Class. Among the questions of
21   law and fact, that are relevant to the adjudication of Class Members’ claims are as
22   follows:
23               a. Whether Plaintiff and Class Members are subject to and entitled to the
24                  benefits of California wage and hour statutes;
25               b. Whether Defendants failed to pay Plaintiff and Class Members for all
26                  hours worked;
27               c. Whether Defendants failed to pay Plaintiff and Class Members all
28                  overtime;
                                                 8
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  1               d. Whether Defendants had a standard policy of not providing compliant
  2                  meal breaks and premiums to Plaintiff and members of the Plaintiff
  3                  Class;
  4               e. Whether Defendants had a standard policy of not providing compliant
  5                  rest breaks and premiums to Plaintiff and members of the Plaintiff
  6                  Class;
  7               f. Whether Defendants unlawfully and/or willfully failed to provide
  8                  Plaintiff and members of the Plaintiff Class with true and proper wage
  9                  statements upon payment of wages;
 10               g. Whether Defendants failed to timely pay wages to Plaintiff and
 11                  members of the Plaintiff Class during their employment;
 12               h. Whether Defendants failed to reimburse Plaintiff and members of the
 13                  Plaintiff Class for business-related expenses;
 14               i. Whether Plaintiff and members of the Plaintiff Class sustained damages,
 15                  and if so, the proper measure of such damages, as well as interest,
 16                  penalties, costs, attorneys’ fees, and equitable relief;
 17         44.      Typicality: The claims of the named Plaintiff are typical of the claims of
 18   the members of the Plaintiff Class. Defendants’ common course of conduct in failing
 19   to provide their non-exempt employees with meal and rest periods and all wages in
 20   compliance with the applicable wage order, or premium compensation at the regular
 21   rate in lieu thereof, failing to provide them with proper wages and overtime, failing
 22   to reimburse them for work related expenses, and failing to provide them with
 23   compliant wage statements has caused Plaintiff and the proposed Class to sustain the
 24   same or similar injuries and damages. Plaintiff’s claims are thereby representative of
 25   and co-extensive with the claims of the proposed Class. Plaintiff and the proposed
 26   Class sustained the same or similar injuries and damages arising from Defendants’
 27   common policies, practices, procedures, protocols, routines, and rules which were
 28   applied to other Class Members as well as Plaintiff. Plaintiff seeks recovery for the
                                                    9
                              SECOND AMENDED CLASS ACTION COMPLAINT
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  1   same type of losses, injuries, and damages as were suffered by other members of the
  2   proposed class.
  3         45.      Adequacy of Representation: Plaintiff is an adequate representative of
  4   the proposed class because he is a member of the class, and his interests do not
  5   conflict with the interests of the members he seeks to represent. Plaintiff has retained
  6   competent counsel, experienced in the prosecution of complex class actions, and
  7   together Plaintiff and his counsel intend to prosecute this action vigorously for the
  8   benefit of the class. The interests of the Class Members will fairly and adequately be
  9   protected by Plaintiff and his attorneys.
 10         46.      Superiority of Class Action: A class action is superior to other available
 11   methods for the fair and efficient adjudication of this litigation since individual
 12   litigation of the claims of all Class Members is impracticable. It would be unduly
 13   burdensome to the courts if these matters were to proceed on an individual basis,
 14   because this would potentially result in hundreds of individual, repetitive lawsuits.
 15   Further, individual litigation presents the potential for inconsistent or contradictory
 16   judgments, and the prospect of a “race to the courthouse,” and an inequitable
 17   allocation of recovery among those with equally meritorious claims. By contrast, the
 18   class action device presents far fewer management difficulties, and provides the
 19   benefit of a single adjudication, economics of scale, and comprehensive supervision
 20   by a single court.
 21         47.      The various claims asserted in this action are additionally or
 22   alternatively certifiable under the provisions of the Code of Civil Procedure section
 23   382 because:
 24               a. The prosecution of separate actions by hundreds of individual class
 25   members would create a risk or varying adjudications with respect to individual class
 26   members, thus establishing incompatible standards of conduct for Defendants, and
 27               b. The prosecution of separate actions by individual class members would
 28   also create the risk of adjudications with respect to them that, as a practical matter,
                                                  10
                             SECOND AMENDED CLASS ACTION COMPLAINT
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  1   would be dispositive of the interest of the other class members who are not a party to
  2   such adjudications and would substantially impair or impede the ability of such non-
  3   party class members to protect their interests.
  4                               FIRST CAUSE OF ACTION
  5                                     Unpaid Overtime
  6         (By Plaintiff and Members of the Putative Class Against Defendants)
  7         48.    Plaintiff incorporates herein by reference the allegations set forth above.
  8         49.    At all times relevant herein, which comprise of the time period not less
  9   than three (3) years preceding the filing of this action, Defendants were required to
 10   compensate their hourly employees for all overtime hours worked.
 11         50.    California Labor Code sections 510 and 1198 and the applicable
 12   Industrial Welfare Commission (“IWC”) wage order require employers to pay
 13   employees working more than eight (8) hours in a day or more than forty (40) hours
 14   in a workweek at the rate of one-and-one-half (1 ½) times the regular rate of pay for
 15   all hours worked in excess of eight (8) hours in a day or more than forty (40) hours
 16   in a workweek. The applicable IWC wage order further provides that employers are
 17   required to pay employees working more than twelve (12) hours in a day overtime
 18   compensation at a rate of two (2) times their regular rate of pay. An employee’s
 19   regular rate of pay includes all remuneration for employment paid to, or on behalf of,
 20   the employee, including nondiscretionary bonuses and incentive pay.
 21         51.    Defendants willfully failed to pay all overtime wages owed to Plaintiff
 22   and members of the Class. During the relevant time period, Plaintiff and members of
 23   the Class were not paid overtime premiums for all of the hours they worked in excess
 24   of eight (8) hours in a day, in excess of twelve (12) hours in a day, and/or in excess
 25   of forty (40) hours in a week, because all hours that they worked were not
 26   compensated. Defendants knew or should have known that as a result of company-
 27   wide practices and/or policies, that prevents Plaintiff and members of the Class from
 28   earning overtime, Plaintiff and members of the Class were permitted to perform
                                                 11
                            SECOND AMENDED CLASS ACTION COMPLAINT
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  1   work for which they were not paid. Because Plaintiff and members of the Class
  2   worked shifts of eight (8) hours a day or more or forty (40) hours a week or more,
  3   some of this off-the-clock work qualified for overtime premium pay. Therefore,
  4   Plaintiff and members of the Class were not paid overtime wages for all of the
  5   overtime hours they actually worked.
  6         52.    Defendants’ failure to pay Plaintiff and members of the Class the
  7   balance of overtime compensation, as required by California law, violates the
  8   provisions of Labor Code sections 510 and 1198. Plaintiff and members of the Class
  9   are entitled to recover civil penalties, attorney’s fees, costs, and interest thereon.
 10                              SECOND CAUSE OF ACTION
 11                                  Failure to Pay All Wages
 12         (By Plaintiff and Members of the Putative Class Against Defendants)
 13         53.    Plaintiff incorporates herein by reference the allegations set forth above.
 14         54.    At all times relevant herein, which comprise of the time period not less
 15   than three (3) years preceding the filing of this action, Defendants was required to
 16   compensate their hourly employees for all hours worked.
 17         55.    For at least the three (3) years preceding the filing of this action,
 18   Defendants failed to compensate employees for all hours worked. Defendants
 19   implemented policies that actively prevented employees from being compensated for
 20   all time worked by subjecting Plaintiff and members of the Class to work off-the-
 21   clock as mentioned above.
 22         56.    Under the applicable wage order and state regulations, Plaintiff and the
 23   Plaintiff Class are entitled to recover compensation for all hours worked, but not
 24   paid, for the three (3) years preceding the filing of this action, in addition to
 25   reasonable attorney's fees and costs of suit in accordance with Labor Code section
 26   218.5, and penalties pursuant to Labor Code sections 203 and 206.
 27         57.    The applicable IWC wage order section 2(G) defines “hours worked” to
 28   mean “the time during which an employee is subject to the control of an employer
                                                  12
                             SECOND AMENDED CLASS ACTION COMPLAINT
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  1   and includes all the time the employee is suffered or permitted to work, whether or
  2   not required to do so.”
  3         58.    Defendants suffered or permitted Plaintiff and members of the Class to
  4   work portions of the day for which Defendants failed to compensate them. This
  5   includes time spent under Defendants’ control prior to clocking in, after clocking
  6   out, and during meal periods.
  7         59.     Labor       Code   section   1194(a)    provides   in   relevant   part:
  8   “Notwithstanding any agreement to work for a lesser wage, any employee receiving
  9   less than the legal minimum wage … is entitled to recover in a civil action the
 10   unpaid balance of the full amount of this minimum wage … including interest
 11   thereon, reasonable attorney’s fees, and costs of suit.”
 12         60.    Labor Code section 1194.2(a) provides in relevant part: “In any action
 13   under section 1193.6 or section 1194 to recover wages because of the payment of a
 14   wage less than the minimum wage fixed by an order of the commission, an employee
 15   shall be entitled to recover liquidated damages in an amount equal to the wages
 16   unlawfully unpaid and interest thereon.”
 17         61.    Labor Code section 1197 provides: “The minimum wage for employees
 18   fixed by the commission is the minimum wage to be paid to employees, and the
 19   payment of a less wage than the minimum so fixed is unlawful.”
 20         62.    Plaintiff is informed and believes, and therefore alleges, that
 21   Defendants’ compensation schemes do not fairly compensate Plaintiff and other
 22   Class Members for all hours spent performing their job duties.
 23         63.    The failure to pay at least minimum wages to Plaintiff and members of
 24   the Plaintiff Class for each and every hour worked violates Labor Code sections
 25   1182.11-1182.12, 1194, 1194.2, and 1197; the applicable IWC wage order section 4;
 26   and Business & Professions Code.
 27         64.    The failure to pay designated wages to Plaintiff and members of the
 28   Plaintiff Class for each and every hour worked violates Labor Code section 221 and
                                                 13
                            SECOND AMENDED CLASS ACTION COMPLAINT
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  1   223; the applicable IWC wage order section 3; and Business & Professions Code.
  2            65.   During the applicable time period, Defendants have and continues to
  3   have a pattern and practice of not providing its employees all wages, by failing to
  4   include all compensable time.
  5            66.   As a proximate result of the above-mentioned violations. Plaintiff and
  6   the Plaintiff Class have been damaged in an amount according to proof at time of
  7   trial.
  8                               THIRD CAUSE OF ACTION
  9                     Failure to Timely Pay Wages During Employment
 10            (By Plaintiff and Members of the Putative Class Against Defendants)
 11            67.   Plaintiff hereby incorporates by reference each and every one of the
 12   allegations contained in the preceding paragraphs as if the same were fully set forth
 13   herein.
 14            68.   Labor Code section 204 requires that all wages earned by any person in
 15   any employment between the 1st and the 15th days, inclusive, of any calendar
 16   month, other than those wages due upon termination of an employee, are due and
 17   payable between the 16th and the 26th day of the month during which the labor was
 18   performed, and that all wages earned by any person in any employment between the
 19   16th and the last day, inclusive, of any calendar month, other than those wages due
 20   upon termination of an employee, are due and payable between the 1st and the 10th
 21   day of the following month.
 22            69.   Labor Code section 204 also requires that all wages earned for labor in
 23   excess of the normal work period shall be paid no later than the payday for the next
 24   regular payroll period. Alternatively, Labor Code section 204 provides that the
 25   requirements of this section are deemed satisfied by the payment of wages for
 26   weekly, biweekly, or semimonthly payroll if the wages are paid not more than seven
 27   (7) calendar days following the close of the payroll period.
 28            70.   During the class period, Defendants willfully failed to pay Plaintiff and
                                                 14
                             SECOND AMENDED CLASS ACTION COMPLAINT
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  1   members of the Class all wages due including, but not limited to, all wages, and/or
  2   meal and rest period premiums, within the time periods specified by Labor Code
  3   section 204.
  4          71.     Labor Code section 210 provides:
  5                  210. (a) In addition to, and entirely independent and apart from, any
  6                  other penalty provided in this article, every person who fails to pay the
  7                  wages of each employee as provided in Sections 201.3, 204, 204b,
  8                  204.1, 204.2, 204.11, 205, 205.5, and 1197.5, shall be subject to a
  9                  penalty as follows:
 10                  (1) For any initial violation, one hundred dollars ($100) for each failure
 11                  to pay each employee.
 12                  (2) For each subsequent violation, or any willful or intentional violation,
 13                  two hundred dollars ($200) for each failure to pay each employee, plus
 14                  25 percent of the amount unlawfully withheld.
 15          72.     As a proximate result of the above-mentioned violations, Plaintiff and
 16   the Plaintiff Class have been damaged in an amount according to proof at time of
 17   trial. Plaintiff and the members of the Class herein seek damages and penalties
 18   pursuant to Labor Code section 210.
 19                                FOURTH CAUSE OF ACTION
 20                             Failure to Reimburse Business Expenses
 21         (By Plaintiff and Members of the Putative Class Against Defendants)
 22          73.     Plaintiff re-alleges and incorporates all preceding paragraphs as though
 23   fully set forth herein.
 24          74.     Labor Code section 2802 requires employers to pay for all necessary
 25   expenditures and losses incurred by the employee in the performance of his or her
 26   job. The purpose of Labor Code section 2802 is to prevent employers from passing
 27   off their cost of doing business and operating expenses on to their employees.
 28   Cochran v. Schwan’s Home Service, Inc. (2014) 228 Cal.App.4th 1137, 1144.
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                                SECOND AMENDED CLASS ACTION COMPLAINT
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  1           75.       The applicable IWC wage order provides that: “[w]hen tools or
  2   equipment are required by the employer or are necessary to the performance of a job,
  3   such tools and equipment shall be provided and maintained by the employer, except
  4   that an employee whose wages are at least two (2) times the minimum wage
  5   provided herein may be required to provide and maintain hand tools and equipment
  6   customarily required by the trade or craft.”
  7           76.      During the Class Period a company-wide policy whereby management
  8   would require Plaintiff and members of the class to utilize their personal cellphone.
  9           77.      Although Defendants required Plaintiff and members of the Class to use
 10   their personal phones to carry out their work-related duties, Defendants failed to
 11   reimburse them for this cost. Defendants could have compensated Plaintiff and
 12   members of the Class with a phone allowance. Instead, Defendants passed these
 13   operating costs off onto Plaintiff and members of the Class. Thus, Defendants had,
 14   and continues to have, a company-wide policy and/or practice of not reimbursing
 15   employees for expenses necessarily incurred in violation of Labor Code section
 16   2802.
 17           78.      Plaintiff and members of the Class are entitled to recover civil penalties,
 18   attorney’s fees, costs, and interest thereon.
 19                                     PRAYER FOR RELIEF
 20   WHEREFORE, Plaintiff, and the Class Members pray for judgment as follows:
 21                 1. For an order certifying the proposed Plaintiff Class;
 22                 2. For an order that counsel for Plaintiff be appointed class counsel
 23                 3. Certification of this class action on behalf of the proposed Plaintiff
 24                    Class;
 25                 4. Designation of Plaintiff as the class representative of the Plaintiff Class;
 26                 5. For restitution of all monies due to Plaintiff and the members of the
 27                    Plaintiff Class and disgorgement of all profits from the unlawful
 28                    business practices of Defendants;
                                                     16
                                SECOND AMENDED CLASS ACTION COMPLAINT
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                      1                     6. An order appointing Plaintiff’s counsel as class counsel;
                      2                     7. Prejudgment and post judgment interest on all sums awarded;
                      3                     8. For compensatory damages;
                      4                     9. For penalties pursuant to Labor Code sections 200, 210, 2699;
                      5                     10. For interest accrued to date;
                      6                     11. For costs of suit and expenses incurred herein pursuant to Labor Code
                      7                          sections 226, 1194 and 2699(g)(1);
                      8                     12. For reasonable attorneys’ fees pursuant to Labor Code section 218.5,
                      9                          2699(g)(1), and Code of Civil Procedure section 1021.5, and/or other
                    10                           applicable law; and
                    11                      13. A declaratory judgment that Defendants have knowingly and
                    12                           intentionally violated the following provisions of law;
                    13                            a) Labor Code section 1198 for failing to pay overtime;
                    14                            b) Labor Code sections 1182.11-1182.12, 1194, 1194.2, 1197,
                                 1198, 221, 223, for failing to pay all wages;
             15 ATTORNEYS OF RECORD:
ARTIES AND THEIR

 ASE TAKE NOTICE that the Further Status Conference Hearing was held August 3,
                    16                            c) Labor Code sections 204 for failing to pay wages timely
:00 a.m. in the above-entitled court. Lirit A. King of Bradley/Grombacher, LLP

ephonically on behalf                             during
                  17 of Plaintiff Anselmo Pardo; Anet       employment;
                                                      Drapalski of Fisher & Phillips,

                    on behalf of Defendants d)
red telephonically 18                           Labor
                                             Shadow     Code
                                                    Holdings LLCsection   2802 for failing to reimburse business
                                                                  dba Bocchi
s, Inc., Bocchi Laboratories Ohio LLC, and Bright Innovation Labs (“Defendants”).
                    19                                 expenses;
uled as follows:
                    20                   14.       For all such other and further relief that the Court may deem just and
urther Status Conference is scheduled for October 27, 2022 at 9:30 a.m. in Department
                          proper.
                   21 Court;
t 312 North Spring Street
Parties are to file a Joint Status Conference Statement five (5) days prior to the above
                    22
duled status conference; and
                            DATED: August 26, 2024                                               BRADLEY/GROMBACHER, LLP
                    23
ntiff is directed to give notice and post a copy of same on the Parties' electronic service.
                    24
                                                                                           By:
                    25
ugust 4, 2022                      BRADLEY/GROMBACHER, LLP                                       Marcus Bradley, Esq.
                                   LEXICON LAW, PC
                    26                                                                           Kiley Grombacher, Esq.
                                                                                                 Corey S. Smith, Esq.
                    27             By:                                                           Attorneys for Plaintiff and others
                                           Marcus Bradley, Esq.
                    28                     Kiley Grombacher, Esq.                                similarly situated
                                           Lirit King, Esq.
                                           John Habashy, Esq.                           17
                                           Attorneys for Plaintiff and others similarly
                                                              SECOND AMENDED CLASS ACTION COMPLAINT
                                           situated
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1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                      1
2           PLEASE TAKE NOTICE that the Further Status Conference Hearing was held August 3,
3                    2 in the above-entitled court. Lirit A. King of Bradley/Grombacher, LLP
     2022 at 10:00 a.m.
4
                                                                                 DEMAND FOR JURY TRIAL
     appeared telephonically on behalf of Plaintiff Anselmo Pardo; Anet Drapalski of Fisher & Phillips,
                      3
5                                         Plaintiff hereby demands trial of Plaintiff’s and the members of the Class’s
     LLP appeared telephonically on behalf of Defendants Shadow Holdings LLC dba Bocchi
6    Laboratories, Inc.,4Bocchi Laboratories Ohio LLC, and Bright Innovation Labs (“Defendants”).
7
                              claims by jury to the extent authorized by law.
     The Court ruled as follows:
8
                      5
        1. A Further Status Conference is scheduled for October 27, 2022 at 9:30 a.m. in Department
9                     6 Spring Street Court;
            11 at 312 North
10                            DATED: August 26, 2024
        2. The Parties are to file a Joint Status Conference Statement five (5) days prior to the above            BRADLEY/GROMBACHER, LLP
11          scheduled 7
                      status conference; and
12      3. Plaintiff is directed to give notice and post a copy of same on the Parties' electronic service.
                      8
13
                      9
                                                                                                           By:
14

15
     DATED: August 4, 2022                        BRADLEY/GROMBACHER, LLP
                                                  LEXICON LAW, PC
                                                                                                                   Marcus Bradley, Esq.
                    10                                                                                             Kiley Grombacher, Esq.
16
17                  11                            By:
                                                                                                                   Corey S. Smith, Esq.
18
                                                            Marcus Bradley, Esq.                                   Attorneys for Plaintiff and others
19
                    12                                      Kiley Grombacher, Esq.
                                                            Lirit King, Esq.                                       similarly situated
                                                            John Habashy, Esq.
20                  13                                      Attorneys for Plaintiff and others similarly
                                                            situated
21

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                    19                       NOTICE OF RULING


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                                                                        SECOND AMENDED CLASS ACTION COMPLAINT
